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                            UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA


SHABOYD PIERRE CANNON                                         CIVIL ACTION

VERSUS
                                                              NO. 17-527-SDD-RLB
SOUTHERN UNIVERSITY
SUPERVISORS


                                              ORDER


       This matter is before the court on a motion by plaintiff’s counsel Mr. Willie M. Zanders

to withdraw as counsel of record for plaintiff (R. Doc. 36). Counsel requests an order permitting

him to withdraw as counsel of record for plaintiff Shaboyd Pierre Cannon.

       Plaintiff’s counsel states in the motion to withdraw as counsel of record (R. Doc. 36) that

counsel desires to withdraw as attorney for plaintiff and has the consent of both Mr. Cannon and

Opposing Counsel for the filing and granting of this motion as stated in the Rule 7(e) certificate

included in the motion.

         Plaintiff’s counsel has complied with Local Rule 83(b)(13) by including in the motion

the present address of plaintiff. However, although the motion includes some information about

the status of the case, it does not state that plaintiff Shaboyd Pierre Cannon was notified of all

pending deadlines by certified mail, with a copy of the Court’s scheduling order attached. In

addition, although the motion is accompanied by a certificate of service, the certificate does not

indicate that the motion was served on the client by certified mail or contain an affidavit stating

why service has not been made, as required by 83(b)(13). It states that the motion was sent to
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the plaintiff via email on June 11, 2018. In addition, the motion to withdraw does not contain the

plaintiff’s current telephone number.

       In addition the Court received a telephone call from the plaintiff requesting an in person

conference with the Court and the plaintiff’s counsel or a hearing on the motion to withdraw as

counsel before the Court rules on the motion to withdraw. Accordingly,

       IT IS ORDERED that a hearing on the Motion to Withdraw as Plaintiff’s Counsel (R.

Doc. 36) is hereby set for July 10, 2018 at 10:00 a.m. in Courtroom 6 before United States

Magistrate Judge Richard L. Bourgeois, Jr. Attorney Zanders shall inform Mr. Cannon of this

proceeding and provide him with a copy of this Order.

       Signed in Baton Rouge, Louisiana, on June 20, 2018.



                                             S
                                             RICHARD L. BOURGEOIS, JR.
                                             UNITED STATES MAGISTRATE JUDGE
